Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 1 of 20




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

      JANE DOES 1 through 11, and JOHN DOES
      1 through 7,                                          No. 21 CV 2637

       Plaintiffs,
                                                            The Hon. Raymond P. Moore
       v.                                                   U.S. District Judge

      BOARD OF REGENTS of the UNIVERSITY                    The Hon. Kathleen M. Tafoya
      OF COLORADO, et al.,                                  U.S. Magistrate Judge

       Defendants.

            PLAINTIFFS’ RENEWED MOTION FOR PRELIMINARY INJUNCTION1

            Now come Plaintiffs, by their undersigned counsel, and move that this Court enter a

  preliminary injunction pursuant to Fed. R. Civ. P. 65 preventing Defendants and their agents,

  employees, and successors, from enforcing their COVID-19 vaccination mandate for the

  Anschutz Campus of the University of Colorado (the “September 1 Policy” and “September 24

  Policy” described in their proposed Verified Amended & Supplemental Complaint) in any

  manner that violates Plaintiffs’ rights under the First and Fourteenth Amendments, submitting

  and relying upon the facts in their proposed Verified Amended & Supplemental Complaint and

  exhibits thereto, and the Declarations of Scott French, M.D., Jane Doe 1, M.D., Student A, and

  Michael McHale, and state in further support as follows:2


  1
    Pursuant to D.C.COLO.LCivR7.1(a), Plaintiffs served an earlier version of this motion on
  Defendants’ counsel on October 29, 2021, as a motion for both a Temporary Restraining Order
  and Preliminary Injunction. In lieu of TRO proceedings, the University has agreed to a standstill
  (for at least most Plaintiffs), and thus this Motion seeks only preliminary injunctive relief.
  Defendant’s counsel has stated they will otherwise oppose this Motion.
  2
    The Court previously denied Jane Doe 1 and John Doe 1’s challenge to the September 1 Policy
  as moot, (dkt. #21, Order at 2-3), recognizing that they intended to file a new complaint, to
  address the September 24 Policy—a policy of which they had no notice nor reason to know of,
  until Defendants alleged it in their Response to original Plantiffs’ Motion for Preliminary
  Injunction. Original Plaintiffs (Jane Doe 1 and John Doe 1) respectfully request that the Court


                                                    1
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 2 of 20




         “To succeed on a motion for a preliminary injunction,” Plaintiffs must show: (1) they’re

  likely to succeed on the merits; (2) irreparable harm; (3) the balance of equities tips in their

  favor; and (4) the public interest favors an injunction. Delmarte E.J.M. Vreeland, II v. Desiree

  Vigil, et al., 2021 WL 4237267, at *2 (D. Colo. Sept. 16, 2021) (unpublished) (citing RoDa

  Drilling Co. v. Siegal, 552 F.3d 120, 128 (10th Cir. 2009)). Plaintiffs easily satisfy each factor.

  I.     Plaintiffs Are Likely To Succeed on the Merits.

         A.      The University is Violating Plaintiffs’ Free Exercise and Establishment
                 Clause Rights Under Both the September 1 and September 24 Policies.

         First, Defendants unquestionably denied each of Plaintiffs’ religious exemption requests

  under the prior Campus Administrative Policy effective September 1, 2021 (“September 1

  Policy”), before erasing and replacing that policy’s express denominational discrimination from

  the ostensibly superseding Policy effective September 24 (“September 24 Policy”). However,

  Defendants have not reconsidered any Plaintiff’s exemption request under the September 24

  Policy (which, as discussed below, is riddled with its own constitutional flaws) or even invoked

  that September 24 Policy in any communication with any Plaintiff. Defendants have only

  invoked that September 24 Policy in lawyers’ arguments in this case. Thus, each of the denials

  must be enjoined for reasons already discussed on behalf of the original Plaintiffs (dkt. #3, Br. at

  2-22)—reasons evident in the University’s sudden change of heart in the September 24 Policy,




  revisit its prior Order as to them, in view of the facts alleged in their Verified Amended &
  Supplemental Complaint, which includes facts (including those as to the September 24 Policy)
  not available to original Plaintiffs at the filing of the prior Motion—and also includes myriad
  facts brought forward by their new co-plaintiffs. New Plaintiffs (Jane Does 2-11 and John Does
  2-7) raise their challenge here for the first time, and as discussed infra at n.4 and elsewhere, urge
  that their challenge to the September 1 Policy is not moot because their religious exemption
  requests and corresponding statuses at Anschutz have not been rescinded or reevaluated under
  the September 24 Policy.


                                                    2
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 3 of 20




  after receiving a demand letter on September 15, on behalf of Plaintiff Dr. Jane Doe 1, outlining

  similar violations. (Am. Cmplt. at ¶73.)

          Second, while a handful of Plaintiffs received denial communiques claiming that they

  would pose an undue health burden (e.g., Jane Does 2 and 3, see Am. Cmplt. at ¶¶78, 83)—most

  after Dr. Jane Doe 1’s demand letter explaining the unconstitutionality of the prior scheme—

  those communiques predated the September 24 Policy, and thus did not invoke it or even

  mention that September 24 Policy, or state that a new Policy may become operative. Id. Those

  communiques were thus merely part of the University’s pretextual effort to cover its tracks for

  blatant discrimination based on the nature of Plaintiffs’ religious beliefs, as already discussed for

  original Plaintiff Dr. Jane Doe 1. (Dkt. #3, Br. 22-24.).

          Third, turning to the September 24 Policy, its provisions are non-neutral and non-

  generally applicable on their face, in violation of the Free Exercise Clause because, as

  mentioned, they categorically deny religious accommodations for students (including multiple

  new Plaintiffs) while categorically allowing religious accommodations for employees and

  medical accommodations for both students and employees.

          Fourth, the September 24 Policy is non-generally applicable as applied insofar as the

  University has authorized medical exemptions for other members of the Anschutz community,

  some of whom have direct patient contact and could pose the same or even greater health risks as

  Plaintiffs (some of whom have no patient contacts).

          Fifth, all of the University’s policies at issue here, both de jure and de facto, brazenly fail

  strict scrutiny.

                     1. The University denied each Plaintiff’s religious exemption request under
                        the September 1 Policy in flagrant violation of the Religion Clauses; thus
                        those denials must be enjoined.




                                                     3
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 4 of 20




         Like the two original Plaintiffs, the sixteen new Plaintiffs here were denied religious

  exemptions under the September 1 Policy, in blatant violation of the Free Exercise and

  Establishment Clauses of the First Amendment. As noted in original Plaintiffs’ prior Motion for

  Preliminary Injunction, such express religious and denominational discrimination is

  unconstitutional. (Dkt. #3, Br. 2-22.) Moreover, Plaintiffs’ challenge to the September 1 Policy

  (which Defendants claim to have rescinded) is not moot given that it alone remains the source

  the denial of their requests for religious exemption, as explained previously and discussed briefly

  below. (Dkt. #17, Br. 4-5; see, e.g., Am. Cmplt. ¶¶5-6, 55, 61-62.) Here, that means Plaintiffs’

  denials under the old policy must be preliminary enjoined.

         In summary, just as it did with respect to original Plaintiffs, the September 1 Policy

  flagrantly violates new Plaintiffs’ rights under the Free Exercise and Establishment Clauses of

  the First Amendment, for the following reasons:

         (1) The September 1 Policy violates religious neutrality by limiting eligibility for

  religious accommodations to those who religiously oppose “all vaccinations.” See Fulton v. City

  of Philadelphia, 141 S. Ct. 1868, 1877 (2021) (“Government fails to act neutrally when it . . .

  restricts practices because of their religious nature” (emphasis added)); Church of Lukumi v. City

  of Hialeah, 508 U.S. 520, 533 (1993) (“the minimum requirement of neutrality is that a law not

  discriminate on its face”).

         (2) The September 1 Policy discriminates on the basis of religious affiliation or

  denomination by requiring that one have a “religious belief whose teachings are opposed to all

  immunizations.” (Emphasis added.) See Colorado Christian University v. Weaver, 534 F.3d

  1245, 1257 (10th Cir. 2008) (government is not “permitted to make a value judgment favoring




                                                   4
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 5 of 20




  some religions over others” and “no State can pass laws . . . that prefer one religion over

  another”).

         (3) The Policy violates the rule against Excessive Entanglement by authorizing

  University officials to conduct intrusive inquiries into the legitimacy (as distinct from the

  sincerity) of one’s religious beliefs, based on the University’s understanding of the religion to

  which a person belongs. See Masterpiece Cakeshop, Ltd., 138 S. Ct. at 1731 (“It hardly requires

  restating that government has no role in deciding or even suggesting whether the religious

  ground for [an individual’s] conscience-based objections is legitimate or illegitimate.”)

         (4) The Policy is non-generally applicable because it allows some religious and medical

  exemptions that undermine the University’s interest in stopping the spread of COVID in

  healthcare facilities via COVID vaccination.” See Tandon v. Newsom, 141 S. Ct. 1294, 1296

  (2021) (A regulation is non-generally applicable when it “treat[s] any comparable secular

  activity more favorable than religious exercise”) (emphasis in original).

         Moreover, while its violation of excessive entanglement is unconstitutional per se,

  Colorado Christian Univ., 534 F.3d at 1266, the September 1 Policy’s remaining defects fail

  strict scrutiny for the same reasons as the September 24 policy, described infra.

         Most Plaintiffs were denied religious exemptions on August 26, 2021, via an essentially

  identical letter emailed by the mysterious and still unidentified “Vaccine Verify” team to each of

  them individually. The letter stated: “Your exemption request has been denied because it does

  not comply with the campus policy, which only recognizes religious exemptions based on a

  religious belief whose teachings are opposed to all immunizations.” (E.g., Am. Cmplt. ¶78.) The

  letter applied the same standard adopted days later in the September 1 Policy.




                                                    5
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 6 of 20




         Several other Plaintiffs were also expressly denied based on their religion at later dates.

  Jane Doe 7 received a denial letter on September 7 from Eric Mediavilla, DDS, Associate Dean

  for Student Affairs and Admissions, stating that to obtain an exemption, the University requires

  that “your religion teaches you and all other adherents that immunizations are forbidden under all

  circumstances.” (Am. Cmplt. ¶104.) The letter stated that, despite her express and overt religious

  opposition to the use of aborted fetal cell lines in the development of the available COVID

  vaccines, her position “is of a personal nature and not part of a comprehensive system of

  religious beliefs.” (Id.) (Emphasis added.) Additionally, John Doe 6 was the victim of a similar

  letter from Ann-Michael Holland, Director of the Anesthesiology Assistant Program, and he was

  also told by Defendant Zimmer that religious exemptions were available only to such religions as

  “Christian Scientists.” (Id. ¶179.)3

         Dr. Jane Doe 3 sought a religious exemption on September 10, after being denied a

  medical exemption on September 8 and 9. She submitted her formal request on September 16,

  one day after Dr. Jane Doe 1 sent the University a demand letter summarizing the September 1

  Policy’s constitutional violations. (Am. Cmplt. ¶82.) She received a denial email from “Vaccine

  Verify” a day or two later solely on grounds that an exemption “would pose [a] significant health

  and safety risk to CU Anschutz community [sic] and, most importantly, to our patients,” and that



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    Plaintiffs have provided ample evidence of the religious nature of their beliefs to Defendants, as
  part of their exemption requests, and to this Court (see dkt. #3, Br., 10-16; Am. Cmplt., passim;
  Decl. of Jane Doe 1, M.D., dkt. #19). See also United States v. Meyers, 906 F. Supp. 1494, 1499
  (D. Wyo. 1995) (observing that the threshold for establishing the religious nature of beliefs is
  low; under the First Amendment, “if there is any doubt about whether a particular set of beliefs
  constitutes a religion, the Court will err on the side of freedom and find that the beliefs are a
  religion . . . [because the country’s] founders were animated in large part by a desire for religious
  liberty”), aff’d, 95 F.3d 1475, 1482-83 (10th Cir. 1996); Emp’t Div., Dep’t of Human Res. of Or.
  v. Smith, 494 U.S. 887, 887 (1990) (explaining in Free Exercise Clause case that “[r]epeatedly
  and in many different contexts, we have warned that courts must not presume to determine the
  place of a particular belief in a religion or the plausibility of a religious claim”).


                                                   6
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 7 of 20




  an accommodation “would pose an undue burden on the University.” (Id. ¶83.) However, Dr.

  Jane Doe 3’s denial still occurred during the existence of the September 1 Policy, which forbade

  religious exemption requests solely based on the nature of one’s beliefs and not on any hardship

  to the University. Thus, Dr. Jane Doe 3 was victim to the same discriminatory policy, and the

  University’s “undue burden” excuse was entirely pretextual as discussed further below.4

                 2. The University’s additional assertion that three of the new Plaintiffs here
                    would pose an “undue hardship” was manifestly pretextual.

         The University told Plaintiffs Jane Doe 8 and John Doe 6 that, in addition to having

  invalid religious beliefs, they would also pose an undue hardship to the University if they refused

  vaccination. And the University denied Dr. Jane Doe 3’s exemption request on undue hardship

  grounds. In reality, the University’s “undue hardship” assertion was manifestly pretextual.

         As original Plaintiffs explained (dkt. #3, Br. 22), the University’s “undue burden”

  rationale is pretextual where, as here, the evidence shows that Plaintiffs’ religious beliefs

  motivated the University’s decision. See Axson-Flynn v. Johnson, 356 F.3d 1277, 1292-93 (10th

  Cir. 2004) (evidence of pretext existed based on defendants’ “behavior” where plaintiff student-

  actor testified that others received religious exemptions and a professor said “other good

  Mormon” girls didn’t object to reading the required script).




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    For these reasons, Plaintiffs’ challenge to the September 1 Policy is not moot. Plaintiffs’ harms
  were caused by the application of the September 1 Policy, and the University never reconsidered
  Plaintiffs’ requests under the September 24 Policy. Further, Plaintiffs’ harms remain ongoing and
  thus their need for an injunction against the September 1 Policy endures. Accordingly, this
  challenge does not involve the doctrine of “voluntary cessation,” but even if it did, the
  University’s Opposition Brief in response to Original Plaintiffs’ Motion for a TRO/PI refused to
  disclaim the September 1 Policy’s constitutional flaws or the notion that it might reimpose the
  policy again—especially as COVID continues to “ravag[e]” the United States (dkt. #15, Br. 6,
  11-14)—thus failing to make “absolutely clear” that “the allegedly wrongful behavior could not
  reasonably be expected to recur.” Brown v. Buhman, 822 F.3d 1151, 1166-1172 (10th Cir. 2016).


                                                    7
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 8 of 20




         The circumstances here reveal even more obvious pretext. Jane Doe 9 was denied by the

  mysterious “Vaccine Verify” team solely on the basis of her religion on August 26. She was only

  informed she would also be an undue burden on September 16—one day after she took the

  initiative to ask for a status update on her exemption request, and, as mentioned, one day after

  original Plaintiff Dr. Jane Doe 1 served a demand letter explaining that the September 1 Policy

  violated the First Amendment. (Am. Cmplt. ¶114.) And John Doe 6 was told religious

  exemptions would be available only to “Christian Scientists” or to people from other rare

  religions that officially oppose all vaccines. (Am. Cmplt. ¶169.). Unsurprisingly, his official

  denial letter from Defendant Ann-Michael Holland concluded that his religious opposition based

  on the vaccines’ abortion connection “does not constitute a religious belief, but a personal

  objection to the vaccine,” because the belief is “not part of a comprehensive system of religious

  beliefs.” (Id.) Only then did the letter additionally assert an exemption would also be an “undue

  burden” to the University. (Id.) Thus, both Jane Doe 9 and John Doe 6 were obviously denied

  exemptions because of the nature of their religious beliefs, in flagrant violation of the First

  Amendment. John Doe 6 was additionally subject to overt religious hostility and inquisition. See

  Masterpiece Cakeshop, Ltd. V. Colorado C.R. Comm’n, 138 S. Ct. 1719, 1731 (2018). Under

  these circumstances, the University’s supplemental (and conveniently timed) “undue burden”

  excuses were clearly pretextual.

         As to Dr. Jane Doe 3, although her particular denial was based on “undue burden”

  grounds, this only occurred after the University received original Plaintiff Dr. Jane Doe 1’s

  demand letter. Dr. Jane Doe 3 received the same “explain . . . your sincerely held religious

  belief” email as other Plaintiffs, and she explained in her submission of September 16 that she

  religiously objected to the use of aborted fetal cell lines in the development of the available




                                                    8
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 9 of 20




  COVID vaccines—the same objection that “Vaccine Verify,” Defendant Zimmer, Defendant

  Holland, and Defendant Mediavilla had already deemed categorically ineligible as insufficiently

  religious when other Plaintiffs raised the same objection. (Am. Cmplt., passim) And of course,

  Dr. Jane Doe 3’s denial occurred while the September 1 Policy’s express religious and

  denominational discrimination was still in effect. Thus, Dr. Jane Doe 3’s circumstances likewise

  show the University’s “undue hardship” excuse to be pretext.

         Accordingly, for this reason too, Plaintiffs all these Plaintiffs are likely to succeed on the

  merits of their challenge to the September 1 Policy.

                  3. The September 24 Policy facially violates the Free Exercise Clause by
                     categorically prohibiting religious exemptions for students.

         The September 24 Policy is neither a neutral nor generally applicable burden on religious

  exercise, and it cannot overcome the requisite strict scrutiny. As original Plaintiffs explained

  (dkt. #3, Br. 16), a regulation that substantially burdens religious exercise is not generally

  applicable when it “treat[s] any comparable secular activity more favorably than religious

  exercise.” Tandon v. Newsom, 141 S. Ct. 1294, 1296 (April 9, 2021) (emphasis in original);

  “Whether two activities are comparable for purposes of the Free Exercise Clause must be judged

  against the asserted government interest that justifies the regulation at issue,” including activities

  that “could . . . present[] similar risks” of “spread[ing] COVID-19.” Id. (emphasis added)

  (internal quotations omitted). Indeed, where a rule fails to prohibit conduct “that endangers [its]

  interests in a similar or greater degree than [the claimants’ religious activity], “[t]he

  underinclusion is substantial, not inconsequential,” and is thus non-generally applicable. See

  Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 543 (1993); see also id.

  at 542 (“The Free Exercise Clause protects religious observers against unequal treatment.”)

  (cleaned up).



                                                     9
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 10 of 20




           Here, the September 24 Policy unquestionably imposes unequal treatment on students

   seeking religious exemptions. It states expressly that, while “[r]eligious accommodations are not

   currently available to students or applicants.” (Am. Cmplt. Ex. 28), “religious

   accommodation[s]” are in fact available for employees, as are “medical accommodation[s]” for

   both students and employees—as long as neither category of accommodation “poses an undue

   hardship or . . . direct threat to the health or safety of the Individual or others.” (Id.) But clearly

   students and employees who remain unvaccinated for medical reasons, or employees who remain

   unvaccinated for religious reasons “could” (and almost certainly do) present “similar risks” of

   spreading COVID-19 as the Plaintiff students if they were to receive accommodations for

   religious reasons. See Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (noting that

   Cuomo’s order treating “less harshly” factories and schools that “have contributed to the spread

   of COVID-19” as compared to houses of worship was not generally applicable); see also Does 1-

   3 v. Mills, No. 21A90, 2021 WL 5027177, at *2 (U.S. Oct. 29, 2021) (Gorsuch, J., dissenting)

   (“Maine does not suggest a worker who is unvaccinated for medical reasons is less likely to

   spread or contract the virus than someone who is unvaccinated for religious reasons”).5

           Here, nothing on the face of the policy stops authorized exemptees from engaging in

   clinical and other person-to-person work that is any less dangerous than any activities performed

   by the student Plaintiffs. See, e.g., dkt. #3-1, Decl. of Student A (noting that as a medical

   exemptee, the University allows him to continue treating vulnerable patients while exercising



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     While the Supreme Court denied an emergency stay in Does 1-3, two Justices joined Justice
   Gorsuch’s dissent, and Justices Barrett and Kavanaugh concurred on discretionary grounds,
   separate from their view of the merits. Does 1-3, 2021 WL 5027177, at *1 (Barrett, J.,
   concurring), and at *2 (Gorsuch, J., dissenting). No Justice challenged Justice Gorsuch’s legal
   analysis of the underlying dispute. The act of denying an emergency stay is “not a decision on
   the merits of the underlying legal issues,” Ind. State Police Pension Tr. v. Chrysler LLC, 556
   U.S. 960, 960 (2009) (per curiam).


                                                      10
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 11 of 20




   appropriate precautions); Am. Cmplt. ¶172 (Anschutz anesthesiology student with medical

   exemption performs clinical work in hospital operating rooms); Decl. of Chancellor Elliman, dkt.

   #15-13, ¶ 13 (conceding that medical exemptions have been granted at Anschutz). Such bald

   unequal treatment is flagrantly and facially underinclusive.

          The Sixth Circuit applied similar logic in recently striking down a different university’s

   denial of student religious exemptions from its COVID vaccine mandate. In Dahl v. Bd. of

   Trustees of W. Michigan Univ., No. 21-2945, 2021 WL 4618519 (6th Cir. Oct. 7, 2021), the

   Sixth Circuit held that Western Michigan University’s COVID vaccine mandate for student

   athletes was not generally applicable as to the plaintiff student athletes who were denied

   religious exemptions, because the University authorized “[m]edical or religious exemptions and

   accommodations,” as “considered on an individual basis.” Dahl, 2021 WL 4618519 at *4.

   Because the University “retain[ed] discretion to extend exemptions in whole or in part . . . the

   policy is not generally applicable,” and “[a]s a result, the University must prove that its decision

   not to grant religious exemptions to plaintiffs survives strict scrutiny.” Id.; see also Decl. of

   Brian Montague, dkt. #15-14, ¶¶5-6 (describing how he individually evaluates requests for

   medical exemptions and recommends approval or denial of each).

          The same is true here, where the University plainly allows medical, but not religious,

   exemptions for students (while also allowing both religious and medical exemptions for

   employees), and it determines who qualifies for these exemptions on an individualized basis,

   including as to whether applicants for authorized exemptions would pose an undue hardship

   without vaccination. See, e.g., id., ¶7. “But the [University] may not refuse to extend that

   exemption system to cases of religious hardship without compelling reason.” Fulton v. City of

   Philadelphia, 141 S. Ct. 1868, 1878 (2021) (cleaned up). Even where authorized exemptions are




                                                     11
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 12 of 20




   not “individualized,” “they treat comparable secular activity”—i.e., often identical activity that

   affects the University’s interest in stopping the spread of COVID to patients and their caregivers

   in comparable, often identical ways—“more favorably than religious exercise.” Tandon, 141 S.

   Ct. at 1296. As a result, the policy must undergo strict scrutiny. See also Roman Catholic

   Diocese, et al. v. Emami, et al., No. 20-1501 (U.S. November 1, 2021) (Granting, vacating, and

   remanding in light of Fulton a lower-court order upholding New York requirement that employer

   health insurance plans cover abortion, with a narrow exemption for only some religious

   organizations but not others); accord Fulton, 141 S. Ct. at 1877 (noting that strict scrutiny

   applies where government burdens religion while allowing exemptions “that undermine[] the

   government’s asserted interests in a similar way”).

           Additionally, the September 24 Policy also singles out student religious exercise for

   disfavored treatment in a flagrant violation of religious neutrality. A law is not neutral toward

   religion if its “object” “is to infringe upon or restrict practices because of their religious

   motivations.” Lukumi, 508 U.S. at 533. That requires, at minimum, “that a law not discriminate

   on its face.” Id. But lack of neutrality can also be discerned from “the specific series of events

   leading to the . . . official policy in question.” Id. at 540.

           Here, the policy is explicit that “[r]eligious accommodations are not currently available to

   students or applicants,” while making them available to employees, and making medical

   accommodations open to both students and employees. (Am. Cmplt. Ex. 28.) This is the same

   error as Colorado’s past restriction on the use of public scholarship funds at “pervasively

   sectarian” colleges and universities, which the Tenth Circuit found non-neutral because when

   government “facially regulate[s] religious issues, it must treat individual religions . . . without

   discrimination or preference.” Colorado Christian Univ. v. Weaver, 534 F.3d 1245, 1257 (10th




                                                       12
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 13 of 20




   Cir. 2008). Here, the September 24 Policy expressly regulates and singles out student religious

   objectors for disfavored treatment, while allowing employee religious exemptions, unless they

   pose an undue hardship. This disparate treatment of individuals’ religion plainly fails facial

   neutrality. See Lukumi, 508 U.S. at 538 (finding “significant evidence” of non-neutrality where

   the ordinance “proscribe[s] more religious conduct than is necessary to achieve [the

   government’s] stated ends”).

          The specific series of events leading to the September 24 Policy also betrays its lack of

   neutrality. As the original Plaintiffs explained, the September 1 Policy was a case study in

   religious and denominational discrimination and was the starting point for Defendants’ litigation-

   motivated rewrite on September 24. (Dkt. #3, Br. at 2-22.) Defendants also sent individual letters

   or emails to students purporting to instruct them on the teachings of the students’ own faiths.

   (See, e.g., Zimmer letter to Student A, Ex. 16 to Am. Cmplt. at ¶180; email to Student John Doe

   1, Am. Cmplt. at ¶136). They also told Plaintiff John Doe 6 that only those affiliated with groups

   like “Christian Scientists” need apply. (Id. ¶169.) Only after Dr. Jane Doe 1 sent her demand

   letter to the University on September 15 did Defendants begin consistently denying requests for

   religious exemption on “undue hardship” grounds.

          Further, lack of neutrality is evident in the University’s switch in time from purporting to

   allow some student religious exemptions (if they belonged to an approved religion) under the

   September 1 Policy to outright forbidding any “religious accommodations” for students in the

   September 24 Policy. The District Court in Dr. A. v. Hochul found that a similar move by New

   York authorizing religious exemptions in its initial vaccine mandate policy, and then eliminating

   it via amendment just days later, targets religious conduct for distinctive treatment. Dr. A. v.

   Hochul, 2021 WL 4734404, at *8 (N.D.N.Y. Oct. 12, 2021), vacated and remanded by sub.




                                                    13
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 14 of 20




   nom., No. 21-2566 (2d Cir. Oct. 29, 2021).6 As the Court stated: “This intentional change in

   language is the kind of ‘religious gerrymander’ that triggers strict scrutiny.” Id.; Lukumi, 508

   U.S. at 534-535. The same is also true here.

          Defendants attempt at discrimination appears inspired, in part, by a misunderstanding of

   the scope and import of Title VII of the 1964 Civil Rights Act, which mandates religious

   protections for employees but is silent on students. 42 U.S.C. § 2000e(j). The University, in

   setting up its system of exemptions, once again ignored its obligations under the U.S.

   Constitution, which, as original Plaintiffs previously explained (dkt. #3, passim), prohibits such

   overt religious discrimination. Thus the September 24 Policy’s denial of student religious

   exemptions must undergo strict scrutiny, which it cannot satisfy.

                  4. The September 24 Policy also violates the Free Exercise Clause as applied
                     to Plaintiffs insofar as the University has actually granted medical
                     exemptions to members of the Anschutz community.

          Under the same Free Exercise principles outlined above, the September 24 Policy

   violates the First Amendment as applied to both the student and employee Plaintiffs. That’s

   because the University admits that, in practice, it is categorically forbidding religious exemptions

   to all comers (dkt. #17, Br. at 20) while it willingly grants some medical exemptions to members

   of Anschutz communities—even though the latter “could” pose “similar risks” as the former of

   contracting and spreading COVID to vulnerable patients and staff. Tandon, 141 S. Ct. at 1296;

   accord Does 1-3, 2021 WL 50217177, at *2-*3 (Gorsuch, J., dissenting).


   6
     Although the Second Circuit recently vacated the District Court’s injunction in Dr. A., as of the
   time of this filing no opinion has issued explaining the reasons for its vacatur, and the District
   Court’s reasoning on this issue is persuasive on this point. See also Does 1-6 v. Mills, 2021 WL
   4860328, at *9 (1st Cir. Oct. 19, 2021) (upholding Maine healthcare vaccine mandate and
   distinguishing Dr. A. because New York “eliminate[d] the religious exemption” it had
   promulgated as part of its earlier healthcare vaccine mandate eight days earlier).



                                                    14
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 15 of 20




          Defendant Zimmer has acknowledged that as a matter of practice, Anschutz is “allowing .

   . . narrow medical exemptions” to “keep[] the number of unvaccinated individuals on campus

   very low,” in order to achieve “herd immunity, the ultimate goal in stopping the pandemic.”

   (Dkt. #15-5, Zimmer Decl. ¶16.) The mere fact the University is granting medical but not

   religious exemptions renders the policy non-generally applicable as applied to these Plaintiffs,

   whom the University cannot show actually pose any more risk of spreading COVID. See

   Tandon, 141 S. Ct. at 1296 (already exempted activities are comparable if they “could” present

   “similar risks” of spreading COVID). Indeed, a number of Plaintiffs pose manifestly less risk

   insofar as they are not regularly in clinical settings, such as for instance, those who work in IT

   positions or offices, those who work in facilities away from the Anschutz campus, and students

   in a classroom setting. Even taken together, Plaintiffs represent a “very low” fraction of the

   Anschutz community, and they are dispersed throughout discrete locations on and off of the

   Anschutz Medical Campus. These Plaintiffs plainly represent a “very low” number of would-be

   exemptees both in the aggregate and within their respective divisions, some of which involve

   zero patient contact.

          As three Justices of the U.S. Supreme Court recently put it: “Slice it how you will,

   medical exemptions and religious exemptions are on comparable footing when it comes to the

   State’s asserted interests.” Does 1-3, 2021 WL 5027177, at *3 (Gorsuch, J., dissenting); see also

   Fraternal Order of Police Lodge No. 12 v. City of Newark Lodge, 170 F.3d 359, 366 (3d Cir.

   1999) (deeming police department’s “no-beard” policy non-generally applicable where some

   officers received medical exemptions undermining department’s interest in uniformity but others

   were refused religious exemptions because of the alleged interest in uniformity). Thus, the

   University’s policy is clearly non-generally applicable and must undergo strict scrutiny.




                                                    15
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 16 of 20




                  5. The University cannot satisfy strict scrutiny.

          For reasons similar to those already explained (dkt. #3, Br. 19-22), the University’s

   refusal to grant Plaintiffs religious accommodations on equal terms with medical exemptees

   easily fails strict scrutiny. These reasons are summarized as follows:

          First, the University has “no compelling reason why it has a particular interest in denying

   an exception” to these religious claimants “while making them available to others.” Fulton, 141

   S. Ct. at 1882 (emphasis added). Thus the University cannot show that “failure to exempt

   plaintiffs serves ‘interests of the highest order.’” Dahl, 2021 WL 4618519 at *5; see also Does 1-

   3, 2021 WL 5027177, at *3 (Gorsuch, J., dissenting) (noting that the government’s compelling

   interest in “stemming the spread of COVID-19 . . . cannot qualify as such forever”).

          Second, the University cannot satisfy narrow tailoring in part because it has not shown it

   “seriously undertook to address the problem with less intrusive tools readily available to it.”

   McCullen v. Coakley, 573 U.S. 464, 494 (2014). Notably, the precautions regularly used at

   Anschutz by all healthcare workers for 20 months, and medical exemptees since September, are

   effective in reducing the spread of COVID from providers to patients. (See, e.g., Decl. of Scott

   French, M.D., dkt. #18, at ¶8; Decl. of Samuel R. Dominguez, M.D., Ph.D., dkt. #15-2, at ¶7

   (Defendants’ expert conceding “PPE has been quite effective in preventing the spread of

   provider-to-patient and patient-to-provider infections” but noting provider-to-provider

   transmission “due to more lax behavior of physicians and staff”).) That’s especially true here,

   where some Plaintiffs are not even in clinical settings or often work remotely and thus are far

   from vulnerable patients or those who work with them. Additionally, the government cannot

   “show[] that it considered different methods that other jurisdictions have found effective.”

   McCullen, 573 U.S. at 494.




                                                    16
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 17 of 20




          The University has now acknowledged it denied all requests for religious

   accommodation. (Dkt. #15, Br. at 20.) But Plaintiffs are aware that hospitals around the

   country—and those within the UC Health system itself—are allowing religious accommodations

   for health care workers in clinical settings without apparently undermining patient care (Am.

   Cmplt. Ex. 20), and several Plaintiffs have themselves received religious accommodations from

   nearby medical sites where they work or do clinicals (see, e.g., Am. Cmplt. ¶¶124, 149-150). See

   Dahl, 2021 WL 4618519 at *5 (no narrow tailoring where “several other universities grant

   exemptions from their COVID-19 mandates”); see also Brooklyn Diocese, 141 S. Ct. at 67

   (government failed narrow tailoring where COVID restriction was “much tighter than those

   adopted by many other jurisdictions hard-hit by the pandemic”); Does 1-3, 2021 WL 6027177, at

   *5 (Gorsuch, J., dissenting) (noting “that the overwhelming majority of States with similar

   mandates provide a religious exemption”). Plaintiffs are also aware that in a neighboring state to

   Colorado, the University of Nebraska Medical Center (“UNMC”) in Omaha recently granted

   religious exemption requests to its COVID vaccination mandate to nearly 200 students and

   employees. (McHale Declaration, attached hereto.) Just like the University of Colorado’s

   Anschutz campus, the UNMC Omaha campus features a prominent medical school and other

   schools (nursing, public health, etc.) and a major hospital—UNMC has the same interest in

   protecting vulnerable patients from COVID and its effects on its campus as do Defendants here.

   Id. Defendants cannot demonstrate why similar accommodations would prevent them from

   achieving their interests.

          Additionally, the fact the University does not impose the same restrictions on religious

   exemptions on its other campuses and facilities, when Anschutz employees and students

   (including some Plaintiffs here, e.g., John Doe 3, 5, and 7, and Jane Doe 8) engage in activities




                                                   17
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 18 of 20




   on those other campuses and facilities and may more easily contract or spread COVID there,

   further demonstrates the lack of narrow tailoring here. See Dahl, 2021 WL 4618519, at *5

   (university’s failure to impose same vaccine restriction on non-student athletes with whom

   student athletes interact undermined narrow tailoring).

          In sum, the University’s de jure and de facto total bans on religious exemptions for

   students and employees within its Anschutz community easily fail strict scrutiny. Plaintiffs are

   thus likely to succeed on the merits of their Free Exercise Challenge.7

   II.    PLAINTIFFS SATISFY THE REMAINING FACTORS FOR A PRELIMINARY
          INJUNCTION.

          A. Imminent Irreparable Harm.

          As the Tenth Circuit recognizes, “[t]he loss of First Amendment freedoms, for even

   minimal periods of time, unquestionably constitutes irreparable injury.” Fish v. Koach, 840 F.3d

   710, 752 (10th Cir. 2016) (quoting Elrod v. Burns, 427 U.S. 347, 374 (1976)). Thus, because the

   University has brazenly trampled on Plaintiffs’ First Amendment rights to religious neutrality

   and equality, it has “assuredly inflict[ed] irreparable harm” for the same reasons explained by the

   original Plaintiffs. (Dkt. #3, Br. 24.) See Roberts v. Neace, 958 F.3d 409, 416 (6th Cir. 2020).

   Additionally, all Plaintiffs are threatened with termination and/or expulsion and thus damage to

   their professional and/or educational standing, along with their reputation in the medical field.

   These harms cannot be remedied at law and only exacerbate the harm caused by Defendants’

   overt religious discrimination wielded against them.


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     For similar reasons, Plaintiffs are also likely to succeed on their Equal Protection Challenge, as
   original Plaintiffs previously explained (dkt #3, Br. 16-18), for Plaintiffs are similarly situated to
   other Anschutz physicians and students who have received exemptions under the Policy, and
   there is no rational basis for treating the two classes differently. Nothing about “the
   characteristics” of Plaintiffs in particular “rationally justify denying to [them] what would [and
   has already been] permitted to [individuals] occupying the same site” for the same purposes. City
   of Cleburne, Tex.v. Cleburne Living Ctr., 473 U.S. 432, 450 (1985).


                                                    18
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 19 of 20




          The imminent harms to Plaintiffs will be life altering. The student Plaintiffs, if they

   cannot continue at Anschutz, face at least a year’s delay in the completion of their professional

   degrees, if they can even find programs to transfer to. And if they do find transfer institutions,

   those institutions will likely be outside the state of Colorado. If they cannot continue at

   Anschutz, student Plaintiffs must relocate under the most favorable possible scenario. (Am.

   Cmplt. ¶¶144, 197-200.) The alternative is to forgo their plans of a professional career.

          The physician staff Plaintiffs likewise face at least a two-year hiatus from the practice of

   medicine or permanent relocation, (Id. ¶¶191-193), a choice that Jane Doe 3 considered, and

   rejected, earlier this year when she was being courted by a rival institution. (Id. ¶88.) She

   preferred to stay where she had established her reputation and sunk her personal and professional

   roots. (Am. Cmplt. ¶18.) Her rejected life choice may now be forced upon her by Defendants’

   unlawful Policies, without this Court’s intervention.

          B. Balance of Harms and Public Interest.

          The balance of harms and public interest here weigh decidedly in Plaintiffs’ favor.

   Whatever the possibility that an individual unvaccinated Plaintiff may spread COVID or

   otherwise harm another member of the Anschutz community, this risk is no greater than that for

   a member of the same community authorized to be unvaccinated for medical reasons. See

   Roberts, 958 F.3d at 316. Further, the idea that a Plaintiff might spread COVID “is somewhat

   speculative, and it fails to consider the broader picture” in part because the University’s policy

   “does not limit [Anschutz members’] exposure to unvaccinated” people at large, as there is no

   requirement that patients be vaccinated or that Anschutz members refrain from mingling with the

   unvaccinated when they’re off campus. Dahl, 2021 WL 4618519, at *6. And of course, “it is




                                                    19
Case 1:21-cv-02637-RM-KMT Document 27 Filed 11/02/21 USDC Colorado Page 20 of 20




   always in the public interest to prevent the violation of a party’s constitutional rights.” Hobby

   Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145 (10th Cir. 2013).

          Here, given that exemptions have been actually allowed for medical reasons at the

   Anschutz campus, and the numerous exemptions allowed for medical and religious reasons at the

   University’s other campuses and across health care facilities in Colorado and elsewhere—

   without any reported harm to patients or the health care system—the University “has not shown

   that public health would be imperiled by employing less restrictive measures” with respect to

   Plaintiffs here. Tandon, 141 S. Ct. at 1297 (internal quotes omitted). The equitable factors thus

   weigh heavily in favor of a preliminary injunction.

                                            CONCLUSION

   For the foregoing reasons, this Court should grant Plaintiffs’ Motion for a Preliminary

   Injunction.

                                         Respectfully submitted,

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                                                    20
